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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA


      JOHN DOE,                                      Case No. 6:20-cv-01220-WWB-LRH

      Plaintiff,                                      Judge: BERGER

      v.                                              PLAINTIFF’S RESPONSE TO
                                                      DEFENDANT’S MOTION in limine
      EMBRY-RIDDLE AERONAUTICAL                       REGARDING TITLE IX COACHES’
      UNIVERSITY, INC.                                TRAINING DOCUMENT

      Defendant




             Plaintiff John Doe respectfully submits this Response to Defendant’s Motion in

  limine Regarding Title IX Coaches’ Training Document.1 (Doc#146.)

                                         MEMORANDUM

                                     BACKGROUND FACTS

             Plaintiff John Doe is a student at Embry-Riddle Aeronautical University (“ERAU”).

  ERAU is a private university in Daytona Beach, Florida. (Verified Complaint, Doc#1,

  PageID#2.) John Doe is training to be a pilot. He is also a student-athlete who received

  a scholarship. (Verified Complaint, Doc#1, PageID#1-2.)

             ERAU has adopted a “Civil Rights Equity & Sex/Gender Based Harassment,

  Discrimination, and Sexual Misconduct Policy.” (the “Sexual Misconduct Policy”; Doc#1-

  5.) Allegations of sexual misconduct are reported to and investigated by the school’s Title

  IX Coordinator. (Doc#1-5.) ERAU has also adopted a “Civil Rights Equity & Sex/Gender-


  1
   In accordance with Judge Berger’s Standing Order, this Memorandum is in 12-point
  Arial typeface and not the typeface described in Revised Local Rule 1.08(a), (b). In Re:
  Local Rules Amendments, Case No: 6:21-mc-3-Orl-78 (January 31, 2021).


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  Based Harassment, Discrimination, and Sexual Misconduct Resolution Process.”

  (“Resolution Process”; Doc#1-6.) The Resolution Process sets forth procedures ERAU

  employs to investigate and adjudicate allegations of violations of the Sexual Misconduct

  Policy.     The Resolution Process provides that allegations of sexual misconduct are

  handled by what is referred to as the “single investigator model.” The Title IX Coordinator

  assigns an investigator to interview witnesses, gather evidence, and determine if a

  violation of the Sexual Misconduct Policy has occurred. (Doc#1-6, PageID#87-89.)

  ERAU promises as “a fundamentally fair resolution” and a decision based solely on

  evidence presented during the resolution process that is “credible, relevant, based on

  fact, and without prejudice.” (Doc#1-6, PageID#100-101.) There is no opportunity for a

  hearing, and no opportunity for students accused of misconduct to question their

  accusers.       (Dammer Depo., Doc#87-1, PageID#702.)           Many other traditional due

  process-type protections are not present. The accused student is not permitted to remain

  silent and is not presumed innocent. The investigator and Title IX Coordinator literally

  serve as the police, judge, and jury in a secret process. The Resolution Process provides

  for a limited appeal. (Id.)

            John Doe was accused of sexual misconduct arising out of events that occurred

  on October 26-27, 2019 (the “Incident”).2 John Doe and Jane Roe engaged in sexual


  2
    John Doe unequivocally denies engaging in any misconduct or violation of the Sexual
  Misconduct Policy. But as much as he would like to prove his innocence, Plaintiff
  recognizes that is irrelevant. John Doe is not asking the Court to issue an opinion on the
  merits of the allegations against Jane Roe. John Doe’s claims focus on the actions of
  Defendant and are independent of his underlying “guilt” or “innocence.” Doe v. Brown
  Univ., 210 F. Supp. 3d 310, 313 (D.R.I. 2016) (“It is not the Court's role to . . . to evaluate
  whether the Court would have made the same judgment calls on evidence and other
  issues as [the school] did; or to determine whether the procedure John [Doe] received
  was optimal.”).

                                                2
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  activity after drinking at a Halloween party. Both John Doe and Jane Roe claim to have

  been intoxicated and told the ERAU Title IX Coordinator that they were unable to provide

  consent to the sexual activity.    (See, generally, Verified Complaint, Doc#1.) In this

  litigation, John Doe claims that the decision of ERAU to not investigate his claim is

  consistent with stereotypical views of gender. (See, generally, Expert Report of Aya

  Gruber, Doc#91-3; Affidavit of Gruber, Doc#4-3.)

        On October 19, 2018, Jane Roe submitted a complaint to the ERAU Title IX Office

  alleging that she was the victim of a sexual assault. (Doc#S-95 at 4.) The factual basis

  for Jane Roe’s complaint regarding the Sexual Misconduct Policy is not initially completely

  clear. She indicated that she was nervous about drinking that night and John Doe “taking

  advantage of her.”    (Doc#S-95 at 7.)     (Doc#S-95 at 8.)    During the course of the

  investigation, the basis for Jane Roe’s complaint became, essentially, that she was too

  intoxicated to consent to sexual activity.3 (See e.g. Doc#S-95 at 47.) Jane Roe told the

  Title IX Coordinator that John Doe was also drunk. (Doc#S-95 at 7.) Jane Roe requested

  that John Doe be suspended from the track team. The Title IX coordinator, prior to

  conducting any investigation, agreed to prohibited John Doe from practicing or competing

  with his team. (Dammer Depo., Doc#87-1, PageID#709 (“Q …So when you imposed the

  interim measure in this case you had not conducted any investigation; right? A Correct.”).

        On November 13, 2019, the Title IX Coordinator met with John Doe about Jane

  Roe’s allegations.   John Doe informed the Title IX Coordinator that he was very



  3
    The conclusion of the Report makes clear that incapacitation due to intoxication is the
  basis for the conclusion that Jane Roe did not consent to sexual activity: “The evidence
  shows that the respondent should have known that the reporter could not make rational,
  reasonable decisions and lack the capacity to give knowing consent.” (Doc#S-95 at 55.)

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  intoxicated when he engaged in sexual activity with Jane Roe. (Doc#S-95 at 11; Dammer

  Depo., Doc#87-1, PageID#718.) John Doe informed the Title IX Coordinator that Jane

  Roe had initiated some sexual activity and verbally indicated her consent to intercourse.

  (Doc#S-95 at 11-12.) The Title IX Coordinator did not act on this statement or initiate an

  investigation into possible misconduct by Jane Roe.4 (Affidavit of John Doe, Doc#4-1,

  PageID#127-129.) The Title IX Coordinator discounted John Doe’s statements and

  discouraged John Doe from filing his own complaint against Jane Roe. (See Verified

  Complaint, Doc#1, PageID#8-9.)

        John Doe and Jane Roe attempted to mediate the issue with a campus minister.

  Prior to this meeting John Doe requested that the Title IX Office not be involved. He was

  told that the mediation would be confidential and that statements made in the meeting

  would not be used in the investigation. (Verified Complaint, Doc#1, PageID#8; Feb. 11,

  2020 Email, Doc#87-8, PageID#884.)

        On January 8, 2020, Jane Roe “requested to move forward with a formal Title IX

  investigation.” (Doc#S-95 at 4-5.)   On January 10, 2020, John Doe submitted a report

  to the Title IX Office alleging that he, too, was the victim of sexual misconduct. (Doc#4-

  1, PageID#129; Jan. 10, 2020 Complaint, Doc#87-7, PageID#883.) John Doe indicated

  that on the night of the incident, he was “too intoxicated to consent to the sexual acts of

  [Jane Roe.]” (Jan. 10, 2020 Complaint, Doc#87-7, PageID#883.) The Title IX Coordinator

  acknowledged that the January 10, 2020 report is a complaint by John Doe alleging

  misconduct by Jane Roe. (Dammer Depo., Doc#87-1, PageID#736.) On February 23,


  4
   The Resolution Process does not require ERAU to wait for a formal complaint to initiate
  an investigation. (Doc#1-6, PageID#85 (authorizing investigation “if the University, based
  on the alleged policy violation(s), wishes to pursue a resolution”).)

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  2020 John Doe told the Investigator that he was “drunk” when he engaged in sexual

  activity with Jane Roe. (Doc#S-95 at 12-13.)

        ERAU did not respond to John Doe’s complaint against Jane Roe. (Aff. of John

  Doe, Doc#4-1, PageID#129-130; Dammer Depo., Doc#87-1, PageID#712-713.) Jane

  Roe was never informed about the allegations against her. (Dammer Depo., Doc#87-1,

  PageID#714.) No investigation of his claims was opened. (Dammer Depo., Doc#87-1,

  PageID#712.) There was no resolution of his allegation or finding about whether John

  Doe is incapacitated. (Dammer Depo., Doc#87-1, PageID#712, 714; Meyers-Parker

  Depo., Doc#87-2, PageID#783.)

        ERAU conducted an investigation solely into the allegations against John Doe.

  Jane Roe was interviewed on at least two more occasions. (Doc#S-95 at 8-10.) During

  these interviews, Jane Roe provided additional information and identified persons who

  might be witnesses.    The Investigator did not seek to verify any of the information

  provided5 or speak to any of the witnesses mentioned by Jane Roe, even though this

  information was cited as important to the conclusions. (Doc#S-95 at 13.) Te Investigator

  also discounted the sworn statements supporting his version of events provided by John

  Doe. (Doe Aff., Doc#4-2, PageID#133.)

        On March 24, 2020, John Doe was informed that the Title IX investigation was

  completed and that he had been found responsible for “Non-Consensual Sexual

  Intercourse” because Jane Roe was incapacitated when she consented to sexual activity



  5
    For example: The Title IX Coordinator concluded that Jane Roe was credible, in part,
  because she “sought out and received counseling services” after the Incident. (Doc#S-
  95 at 55.) Nobody requested these records or made any effort to verify this claim.
  (Dammer Depo., Doc#87-1, PageID#726.)

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  with John Doe. (March 24, 2020 Letter, Doc#87-9). The Outcome Letter did not address

  John Doe’s claim that he was a victim of sexual misconduct because he, too, was

  intoxicated. (Id.) No similar letter was sent describing the outcome of the investigation

  into John Doe’s complaint. (Dammer Depo., Doc#87-1, PageID#724.)

        On April 1, 2020 John Doe submitted an appeal, referred to by ERAU as a

  “Request for Reconsideration.” (Appeal, Doc#87-11.) John Doe noted that he had

  submitted a claim that he was a victim of sexual misconduct which had not been

  addressed. John Doe also noted various procedural irregularities. (Id. at PageID#891-

  893.) The Appeal was reviewed by the Associate Dean of Students & Title IX Coordinator

  for the ERAU campus in Arizona. She identified concerns about bias, granted John Doe’s

  appeal, and ordered that case to be reviewed by a new investigator. (April 16, 2020

  Letter., Doc#1-3, PageID#40.)     The new investigator only read the report; he did not

  conduct any new investigative work or, even, speak to John Doe, Jane Roe, or any

  witnesses. (Langston Depo. at 35-36.)

        On June 10, 2020 the new investigator issued an Outcome Letter. This letter is

  substantially similar to the Outcome Letter and summarily dismissed John Doe’s claim

  that he was also incapacitated. (Doc#1-4.) John Doe was dismissed from ERAU. He

  faces, inter alia, damage to his academic and professional reputations. He will be limited

  in his ability to enroll at other institutions of higher education and to pursue a career.

  (Doc#4-1, PageID#130-131.)

        This litigation followed.




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                                          ARGUMENT

  A.     Standard

         Defendant brings this Motion under Evidence Rules 401 and 403.

         Regarding the admissibility of evidence, Rule 402 provides that "[r]elevant

  evidence is admissible" except as otherwise provided by "the United States Constitution;

  a federal statute; [the Federal Rules of Evidence]; or other rules prescribed by the

  Supreme Court. Irrelevant evidence is not admissible." Fed. R. Evid. 402.

         Rule            401   provides       that       “evidence        is       relevant”

  if “it has any tendency to make a fact more or less probable than it would be without the

  evidence; and the fact is of consequence in determining the action.” Fed. R. Evid. 401.

  “Rule 401 defines relevant evidence in broad terms.” United States v. McCoy, S.D.Fla.

  No. 08-14020-CR, 2008 U.S. Dist. LEXIS 133287, at *7 (Aug. 21, 2008). See also See

  Conway v. Chem. Leaman Tank Lines, Inc., 525 F.2d 927, 930 (5th Cir. 1976) (“The policy

  of the [Federal Rules of Evidence] is one of broad admissibility…”); Daubert v. Merrell

  Dow Pharms., Inc., 509 U.S. 579, 587 (1993) (“[Rule 401's] basic standard of relevance…

  is a liberal one.”).

         Rule 403 sets forth the following balancing test for relevant evidence: "The court

  may exclude relevant evidence if its probative value is substantially outweighed by a

  danger of one or more of the following: unfair prejudice, confusing the issues, misleading

  the jury, undue delay, wasting time, or needlessly presenting cumulative evidence." Fed.

  R. Evid. 403. “Rule 403 is ‘an extraordinary remedy which should be applied sparingly.’”

  Jones v. Carnival Corp., S.D.Fla. No. 04-20407-CIV, 2006 U.S. Dist. LEXIS 100633, at

  *2 (Jan. 11, 2006), quoting United States v. Sawyer, 799 F.2d 1494, 1506 (11th Cir. 1986)



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  (“Unless trials are to be conducted on scenarios, on unreal facts tailored and sanitized for

  the occasion, the application of Rule 403 must be cautious and sparing.”).

  B.     The Training Presentations Are Relevant

         Plaintiff has asserted a Title IX Selective enforcement claim. To prevail on a Title

  IX Selective Enforcement claim, Plaintiff must demonstrate that a similarly-situated

  member of the opposite sex was treated more favorably. Rollins College, 352 F. Supp.

  3d at 1211, citing Doe v. Cummins, 662 F. App'x 437, 452 (6th Cir. 2016); Mallory v. Ohio

  Univ., 76 F. App'x 634, 641 (6th Cir. 2003). In a selective enforcement claim, a plaintiff

  alleges that the decision to initiate proceedings or the penalty imposed was affected by

  plaintiff's gender. . Yusuf v. Vassar Coll., 35 F.3d 709, 714 (2d Cir. 1994).6

         Evidence that school administrators possessed outdated, stereotypical, and

  discriminatory views of gender and sexuality can support an inference of gender bias

  because “these views would have naturally infected the outcome of [a] Title IX disciplinary

  proceedings.” Marymount Univ., 297 F. Supp. 3d at 586.            In this case, the training

  materials are relevant evidence of discriminatory views. The Title IX Coordinator provided

  training to others at ERAU on multiple occasions to multiple audiences – the coaches

  were just one example. During these trainings, she said, “We need to believe survivors

  because it is their truth they are speaking.”7 (Training, Doc#87-5, PageID#866.)


  6
    In Doe v. Valencia Coll., 903 F.3d 1220, 1236 (11th Cir. 2018), the Eleventh Circuit
  recognized the impact of Yusuf in establishing a framework to analyze Title IX claims.
  See also Jia v. Univ. of Miami, S.D.Fla. No. 17-cv-20018, 2019 U.S. Dist. LEXIS 23587,
  at *13 (Feb. 12, 2019) (following Yusuf test); Doe v. Univ. of S. Alabama, S.D.Ala. No.
  17-0394, 2020 U.S. Dist. LEXIS 25961, at *39 (Feb. 14, 2020) (same); Lynn Univ., , 224
  F. Supp.3d at 1291 (same).
  7
   If there is any doubt this is bias, the Court should note that the previous slide, titled
  “What to say to a respondent,” does not contain similar language. (Training, Doc#87-5,
  PageID#865.) This is in the context of a policy that does not have any provision indicting
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        Defendant’s suggests that the training presentation applies only to coaches – and

  is not representative of how the school responds to Title IX matters – is incorrect. Def.

  Memo. at PageID#2506. Defendant, elsewhere, argues that the training “applies only to

  coaches’ reporting obligations” and does “not discuss the responsibilities of the Title IX

  Investigator or Coordinator…” Id. BUT THIS IS NOT TRUE. The training is a standard

  presentation given to many audiences.       The same statements/slides appeared in a

  training for new and returning resident assistants, for example. (Trainings, Doc#125-1,

  PageID#2272-2273.) The author of the PowerPoint testified at her deposition that the

  training presents “an accurate statement of how Title IX operates at Embry-Riddle.”

  (Dammer Depo., Doc#87-1, PageID#710.)

        Defendant further argues that the training “does not suggest that the Title IX office

  subscribes to that philosophy in its administration, handling, and resolution of the case

  after it receives the report.” Def. Memo. at PageIOD#2506. BUT THIS IS ALSO NOT

  TRUE. These training materials explicitly describe the philosophy and approach of the

  ERAU Title IX Office. When asked about these training materials, the Title IX Coordinator

  testified in her deposition that this is representative of how she approaches cases:

        Q On [PageID#866] it indicates that, "We need to believe survivors because it
        is their truth they are speaking." Is that an accurate statement of how you
        operate?
        A Yes. At that time when somebody comes in I'm going to take it that they are
        telling me the truth as they know.
        Q So you're going to believe them when they say -- If someone comes in and
        says, "I'm a victim," you're going to believe them?
        A At that time, yes.




  that an accused student is presumed innocent until proven ‘guilty.’ (See Meyers-Parker
  Depo., Doc#87-2, PageID#787 (witness unable to identify portion of policy indicating
  presumption of innocence).)
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  (Dammer Depo., Doc#87-1, PageID#711 (objections omitted, emphasis supplied).) And

  this is not an isolated claim. Previously in her deposition the Title IX Coordinator testified,

  “when [alleged victims] come in and make a statement I am going to believe what they're

  telling me is the truth…” (Dammer Depo., Doc#87-1, PageID#709.)

         The statements in the training are relevant because they are “circumstantial

  evidence… concerning… discriminatory intent.” Smith v. Lockheed-Martin Corp., 644

  F.3d 1321, 1328 (11th Cir. 2011). Under Eleventh Circuit precedents, in comparable Title

  VII cases,8 Plaintiff may present “a convincing mosaic of circumstantial evidence that

  would allow a jury to infer intentional discrimination.” Lewis v. City of Union City, Ga., 934

  F.3d 1169, 1185 (11th Cir. 2019). Plaintiff’s expert specifically tied the “believe survivors”

  language in this training to gender bias.

         It appears that, consistent with gender stereotypes, the Investigator adopted
         the predisposition of believing the female Jane Roe, presumed to be a survivor,
         and disbelieved the male John Doe, presumed to be a perpetrator, and then
         interpreted the evidence in a way that confirmed the initial belief of Roe’s
         victimhood and Doe’s guilt. Training materials at ERAU used by the Title IX
         Coordinator and the Investigator state, “We need to believe survivors because
         it is their truth they are speaking.” Discovery materials demonstrate that every
         case investigated by ERAU involved a female student alleging misconduct by
         a male respondent. ERAU’s predisposition to believe survivors became a
         predisposition of disbelief when Doe, a man, reported being incapacitated
         during sex. Subsequently, the Investigator pursued the case and interpreted
         the evidence she obtained—witness statements, intoxication levels, and
         physical evidence—in a manner consistent with her desire to “believe” (female)
         survivors. Much of the Report’s analyses and conclusions read as though the
         investigator examined the allegations in the light most favorable to the (female)
         Reporter.

  (Gruber Report, Doc#91-3, PageID#994-995.)


  8
   Courts “have borrowed from Title VII cases to inform their approach to Title IX…” J.F.K.
  v. Troup Cty. School Dist., N.D.Ga. No. 3:09-CV-0142, 2011 U.S. Dist. LEXIS 162754, at
  *5 n. 2 (June 21, 2011). See also Saville v. Houston County Healthcare Auth., 852 F.
  Supp. 1512, 1521 (M.D. Ala. 1994) (applying standards of Title VII to Title IX claims)

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        In Title IX cases, evidence of gender bias may be inferred from statements or

  trainings conducted by school administrators.9    In Doe v. Purdue Univ., 928 F.3d 652,

  669 (7th Cir. 2019), for example, the Seventh Circuit held that gender stereotypes could

  be inferred when a university center posted an article insinuating that men were “the

  cause of campus sexual assault.” In Doe v. Washington & Lee Univ., W.D.Va. No. 6:19-

  cv-00023, 2021 U.S. Dist. LEXIS 74222 (Apr. 17, 2021), a court held that “gender bias

  could be inferred” from the Title IX Coordinator's hosting a presentation containing

  statements that could be interpreted as biased. 2015 U.S. Dist. LEXIS 102426 at *10.

  Defendant cites no cases supporting its position, much less any cases to the contrary.

  C.    The Training Is Not Unduly Prejudicial

        Defendant suggests that the training PowerPoint is confusing, and that

  Defendant’s personnel would have to be questioned “about what the document says,

  what it does not say, and what the document applies to.” Def. Memo. at PageID#2507.

  Defendant cites no authority to support its argument beyond summarizing the standard.

  That is likely because this is not a reason for exclusion under Rule 403 but, instead, a

  reason for a trial.   The training suggests that the persons in charge of conducting




  9
    The fact that the presentation was gender neutral and could be described as merely
  “pro victim” does not make the presentation irrelevant for Title IX purposes under the most
  recent court of appeals decisions. See Schwake v. Arizona Bd. of Regents, 967 F.3d
  940, 948 (9th Cir. 2020) (“Sex discrimination need not be the only plausible explanation
  or even the most plausible explanation for a Title IX claim to proceed.”); Doe v. Regents
  of the Univ. of Minnesota, 999 F.3d 571, 579 (8th Cir. 2021) (a school’s possible bias in
  favor of the victims of sexual assault does not precludes a reasonable inference of bias
  against male students); Doe v. Univ. of Denver, 1 F.4th 822, 835-836 (10th Cir. 2021)
  (“Title IX plaintiffs challenging the outcome of a sexual-misconduct proceeding will rarely
  have direct evidence or even strong circumstantial evidence sufficient to overcome a
  school's ‘anti-respondent, not anti-male’ argument.”).


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  investigations and making determinations about violations of Defendant’s rules had pre-

  decided the matter from the beginning. The evidence will “confuse” the jury only if the

  Court accepts – incorrectly – that casting doubt on the claims by Defendant’s witnesses

  that they acted in a manner that was fair, unbiased, and free of gender stereotypes

  equates to creating impermissible confusion. See United States v. Collorafi, 876 F.2d

  303, 306 (2d Cir. 1989) (explaining that “[a] mere statement that evidence would be

  confusing is not enough" to justify exclusion on Rule 403 grounds because "factual

  controversy breeds confusion"); United States v. Evans, 728 F.3d 953, 966 (9th Cir. 2013)

  (observing that an "increased . . . chance[] that the jury would acquit" cannot be attributed

  to jury confusion without "prejudg[ing] the 'correct' outcome of the trial before it occurs").

         Defendant simply does not want THIS testimony before the jury because it is

  compelling evidence of an unfair and biased process.           True, the training materials

  increase the chances that the jury will find for Plaintiff, but that is not a proper Rule 403

  objection. United States v. Evans, 728 F.3d 953, 966 (9th Cir. 2013) ( “[S]uch a result

  could not be attributed to the jury being confused or misled; to find otherwise would be to

  pre-judge the ‘correct’ outcome of the trial before it occurs.”)

                                         CONCLUSION

         The Motion should be denied.




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                                                    FOR PLAINTIFF:

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                                 CERTIFICATE OF SERVICE

          This certifies that the foregoing was filed electronically on October 13,
  2021. Notice of this filing will be sent to all parties by operation of the Court’s electronic
  filing system.


                                                    ____/s/ Joshua Engel ______
                                                    Joshua Adam Engel (Ohio No.
                                                    0075769)
                                                          pro hac vice




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